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                                                                                                 Southern District
Federal Defenders                                                                       52 Duane Street, I 0th Floor
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Tamara Giwa                                                                                   Jennifer L. Brown
Executive Director                                                                             Attorney-in-Charge




                                                       February 4, 2025

         VIA EMAIL

        Honorable Katherine H. Parker
        United States Magistrate Judge
        Southern District of New York
        500 Pearl Street
        New York, New York 10007

        Re:          United States v. Luigi Mangione
                     24 MJ 4375 (UA)

        Dear Judge Parker:

                On December 19, 2024, Mr. Mangione appeared before the Court for an
        initial appearance. I write pursuant to 18 U.S.C. § 3005 to offer my recommendation
        to the Com·t for the appointment of learned counsel in the above-captioned capital
        case for Luigi Mangione, who is represented by Karen Friedman Agnifilo as lead
        counsel. I recommend the appointment of Avraham Moskowitz as learned counsel.
        Mr. Moskowitz is a member of the SDNY Capital Panel and has frequently been
        found learned in the law of capital cases. In arriving at the recommendation, I have
        contacted the government and defense counsel and have reviewed the conflict list.
        Mr. Moskowitz is available and does not appear to have any conflict.

                 Please do not hesitate to contact me with any questions or concerns.

                                                 Best regards,

                                                 /s
                                                 Jennifer L. Brown
                                                 Attorney-in-Charge
                                                 Federal Defenders of New York
                                                 Tel.: (212) 417-8722
